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                                  No. 22-13153

                                      IN THE
                   United States Court of Appeals
                     For the Eleventh Circuit

              ACTION NISSAN, INC. D/B/A/ UNIVERSAL HYUNDAI &
                                 WILLIAM NERO,
                                                    Plaintiffs-Appellees,
                                        v.
                           HYUNDAI MOTOR AMERICA,
                                                    Defendant-Appellant.


                  On Appeal from the United States District Court
                    for the Middle District of Florida, Orlando
                     Division, No. 6:18-cv-380-ORL-78EJK


  OPENING BRIEF FOR APPELLANT HYUNDAI MOTOR AMERICA


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         Action Nissan, Inc., et al. v. Hyundai Motor America, No. 22-13153

               CERTIFICATE OF INTERESTED PERSONS AND
                 CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rule 26.1-1, Defendant-Appellant Hyundai Motor America certifies that the

following persons and entities have or may have an interest in the outcome of this

case:

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        Action Nissan, Inc. d/b/a Universal Hyundai

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        Bader, Nicholas A.

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        Elias, Antonio M.

        Ellsworth, Jessica L.

        Florida Automobile Dealers Association

        Florida Department of Highway Safety and Motor Vehicles

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    Hyundai Motor America

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    Nelson Mullins Riley & Scarborough, LLP

    Nero, William

    Paretti, Kenneth L.

    Quinton & Paretti, P.A.



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    Wiggins, Michael J.

    Zelinsky, Nathaniel A.G.




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              STATEMENT REGARDING ORAL ARGUMENT

     Hyundai Motor America requests oral argument. This appeal comes from a

jury trial that resulted in a $16 million dollar verdict, produced an extensive record,

and involves complex legal and factual issues.            Hyundai Motor America

respectfully suggests the Court would benefit from argument.




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                                 INTRODUCTION

      This contract case was tried to a jury. But the District Court refused to instruct

the jury about a critical aspect of the contract—and told the parties to argue

conflicting structural interpretations to the jury—even though, after trial, the court

did not dispute the defendant’s interpretation was unambiguously correct. The

District Court also instructed the jury to disregard the defendant’s central evidence

for why no breach occurred. These two independent errors produced a $16 million

verdict with no basis in law or fact.

      After trial, the District Court sought any rationale to preserve an incorrect

verdict. It denied defendant’s post-trial motion based on arguments plaintiffs did

not make, including a factual theory plaintiffs disclaimed before the jury. It deemed

one of defendant’s arguments forfeited—when the argument occupied multiple

pages of briefing below. And it propounded a novel interpretation of Rule 50(b) that

was rejected by the very precedent it cited. The defendant deserves judgment as a

matter of law. At a minimum, this Court should grant a new trial.

      Here’s what happened: The defendant is Hyundai Motor America (“HMA”).

HMA distributes Hyundai automobiles to dealers around the country. The plaintiffs

are William Nero and his “Universal Hyundai” dealership in Orlando, Florida.

Because there is little difference between Nero and his business for this appeal, we

refer to them collectively as “Nero.”


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      In 2006, Nero sued HMA over advertising assessments and HMA’s

distribution system. Three years later, the parties settled. Nero dropped his lawsuit.

HMA promised various consideration, including $1.1 million.

      This appeal concerns Section 10 of the settlement agreement. That section

states that in the event HMA’s parent company established a new “luxury motor

vehicle line-make” and HMA received “rights of distribution,” HMA promised Nero

a right of first refusal to two “open points” in eight specific Florida counties.

      The contract thus created a right of first refusal subject to three conditions

precedent: (1) a new luxury line-make must be established; (2) HMA must receive

rights of distribution; and (3) open points must exist in the eight specific Florida

counties. If all of that occurred, HMA was obligated to offer Nero a right of first

refusal to open dealerships selling that new luxury line-make in two of the open

points.

      An “open point” is a technical term in the automobile industry for a defined

location where a distributor lacks representation—hence, the “point” is “open”—

and wishes to add a dealership. A “line-make” refers to all the various models a

dealer may sell pursuant to its franchise agreement with a distributor.

      In 2009, when the parties entered into the settlement agreement, Hyundai did

not have a luxury line-make. It had recently launched a luxury automobile named




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“Genesis” as part of the “Hyundai” line-make sold by Hyundai dealers. In 2016,

Hyundai added two luxury Genesis models under the “Hyundai” line-make.

      But customers purchasing luxury automobiles prefer luxury dealerships. To

better compete for luxury market share, Hyundai decided to transform Genesis into

a separate luxury line-make, sold by a small network of standalone “Genesis”

dealers. HMA announced its plans in January 2018. In March 2018, HMA’s

subsidiary sent existing Hyundai dealers a letter inviting them to indicate interest in

establishing an exclusive Genesis dealership.

      That plan quickly fell apart. Hyundai’s existing dealers protested. They

argued that, because Hyundai dealers already sold Genesis vehicles, state laws

prevented spinning off “Genesis” into a separate line-make. State regulators agreed.

In Florida, the DMV concluded that Hyundai dealers already represented Genesis

vehicles. As a result, the DMV refused to license a separate Genesis line-make

unless every Hyundai dealer could continue selling Genesis vehicles as a “Genesis”

dealer at their existing locations.

      Hyundai reluctantly acquiesced to regulators and offered Genesis

“dealerships” to all Hyundai dealers across America. In Florida, nearly every

Hyundai dealer choose to continue selling Genesis vehicles. As a result, dozens of

Hyundai dealers in Florida—and hundreds more across the United States—are dual

“Hyundai-Genesis” dealers, far more than the Genesis line-make needs.



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      Re-enter William Nero. Immediately after Hyundai announced plans for a

new Genesis line-make, Nero tried to invoke his rights of first refusal under Section

10. Shortly afterward, Nero filed this lawsuit. It alleges that HMA breached Section

10 by failing to offer rights of first refusal, violated an implied covenant (which

requires proving breach, too), or, alternatively, anticipatorily breached Section 10.

      HMA has offered a consistent defense. A key condition precedent to Nero’s

right of first refusal was never satisfied. There were never “open points” for the

Genesis line-make. Instead, regulators concluded that because Genesis vehicles

were already being sold by Hyundai dealers, every Hyundai dealer should double as

a “Genesis” dealer. As a result, neither HMA nor its Genesis subsidiary wanted or

needed additional representation for Genesis vehicles.

      Nero has offered shifting theories. To survive summary judgment, Nero

argued the three conditions precedent existed and HMA had breached Section 10 in

March 2018, when Nero first filed suit. At the charge conference, on the penultimate

day of trial, Nero shifted course. He declared breach occurred in January 2019, ten

months after Nero sued HMA. Before the jury, Nero argued that two key conditions

precedent did not arise until October 2018.

      HMA immediately spotted the flaw in Nero’s novel theory: Under the

contract’s plain language, all three conditions needed to exist simultaneously for

HMA to owe Nero rights of first refusal to “open points.” But Nero’s dates did not



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match up. Nero’s evidence of “open points” was the March 2018 letter inviting

dealers to indicate interest in establishing an exclusive, standalone Genesis

dealership. By May, HMA had abandoned that plan under pressure from state

regulators. Meanwhile, Nero argued that the other two conditions precedent arose

in October 2018.

        But the District Court refused to decide whether Section 10 required the

conditions precedent to exist simultaneously. Instead, the Court told the parties to

argue conflicting interpretations to lay jurors. In his closing, Nero repeatedly

invoked the judge’s instructions to counter HMA’s interpretation of Section 10:

“It’s not what Judge Berger’s going to tell you. It’s not in the jury instructions. It’s

not on the verdict form. If that were true, surely it would make its way into one of

those documents, but it’s not there.” Doc. 307 at 72.1

        The District Court’s refusal to interpret Section 10 was indefensible. A court

should not task lay jurors with legal analysis. Nor does the District Court now

dispute that all three conditions precedent must have actually existed together for

Nero to possess rights of first refusal. Instead, the District Court claimed that all

three preconditions coexisted in March 2018. But that was not what Nero argued to

the jury. He conceded two preconditions did not arise until October 2018. HMA

deserves judgment as a matter of law based on Nero’s theory of this case. At a


1
    Record page references are to the page number in the ECF header.

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minimum, this Court should grant a new trial to correct the District Court’s failure

to instruct the jury about Section 10’s meaning.

      This Court should also grant HMA a new trial for a second reason. At

summary judgment, the District Court ruled against HMA on its affirmative defense

of legal impossibility. That affirmative defense asserted that even if the three

preconditions had been met, the Florida regulator’s decision legally prevented HMA

from complying with any obligation it owed to Nero. At trial, the court instructed

the jury to ignore evidence about Florida regulators because—in the court’s words—

that evidence might argue or imply a legal impossibility defense.

      But the Florida regulatory decision was relevant to two arguments. It was

relevant to the affirmative defense of impossibility. It was also critical to HMA’s

core factual defense, which was that as a result of the regulators’ decisions, open

points never existed, and HMA never owed Nero a right of first refusal. The District

Court’s instruction effectively directed the jury to disregard HMA’s entire case.

Nero understood that. He told jurors that Florida regulators’ actions amounted to

HMA’s “whole case.” Id. at 78. “But as you saw on that jury instruction, that’s not

a viable defense here.” Id. (emphasis added).

      After trial, the District Court declined to justify its erroneous instruction.

Instead, the court accused HMA of forfeiting its challenge to the instruction in post-




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trial briefing. But HMA’s brief devoted multiple pages to this issue. HMA deserves

a new trial where jurors are not instructed to ignore HMA’s key evidence.

      Finally, this Court should grant HMA judgment on Nero’s alternative

anticipatory breach claim. Florida appellate precedent and leading contract treatises

confirm that—as a matter of law—a plaintiff cannot allege anticipatory breach in

this context. Here too, the District Court ignored the merits, instead inventing a

procedural rationale that Nero never advanced. The court said that because the jury

was instructed to skip the moot anticipatory breach question—because it found for

Nero on his breach of contract claims—HMA had to file this portion of its post-trial

Rule 50(b) motion within 28 days of the jury’s discharge rather than 28 days after

entry of judgment. But the authority the District Court cited—a recent Fifth Circuit

decision—read Rule 50(b) in the opposite way.

                       JURISDICTIONAL STATEMENT

      Plaintiffs are Florida citizens and raised federal claims. Doc. 84 at 3-5, 26.

Defendants are California corporations. Id. at 4-5. The District Court exercised

jurisdiction under 28 U.S.C. §§ 1331, 1332.       The District Court entered final

judgment disposing all claims on October 19, 2021. Doc. 314.

      On November 16, 2021, HMA moved for judgment as a matter of law and a

new trial. Doc. 318. The District Court denied the motion on August 22, 2022. Doc.




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338. On September 19, 2022, HMA filed a notice of appeal. Doc. 339. This Court

has jurisdiction under 28 U.S.C. § 1291.

                          STATEMENT OF THE ISSUES

      1.     Whether the District Court erred in denying HMA judgment as a matter

of law on Nero’s contract claims because no reasonable juror could conclude all

three necessary conditions precedent existed simultaneously, meaning HMA never

owed nor breached a contractual obligation to Nero.

      2.     Whether, at a minimum, the District Court erred in denying HMA a

new trial because the court refused to instruct the jury that all three necessary

conditions precedent must exist simultaneously.

      3.     Whether the District Court should have granted a new trial because it

improperly instructed jurors to ignore evidence about the Florida DMV that was

critical to HMA’s case.

      4.     Whether the District Court erred in denying HMA judgment as a matter

of law on Nero’s anticipatory breach claim, because a party cannot anticipatorily

breach a unilateral contract or a contract subject to conditions precedent that have

not yet arisen.




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                          STATEMENT OF THE CASE

      A.     Florida Licenses Line-Makes And Protects Dealers.

      The automobile industry is divided into three segments. Manufacturers make

vehicles. Distributors—typically owned by manufacturers—enter into franchise

agreements with a network of dealers. Dealers sell vehicles to customers.

      States heavily regulate these relationships. In Florida, the Department of

Highway Safety and Motor Vehicles—colloquially, the “DMV”—licenses

distributors. See Fla. Stat. § 320.61; Doc. 292 at 9. A license provides the right to

distribute a line-make in Florida. Doc. 292 at 12. A “line-make” means the

“multiple brand names or marks” of vehicles that dealers sell under a “single

franchise agreement” with a distributor. Fla. Stat. § 320.60(14). Distributors receive

licenses for each line-make.

      As an example of a “line-make,” Ford manufactures the Ford F-150 and

Mustang. Dealers sell both vehicles under one franchise agreement. While F-150s

and Mustangs have different names, they are both part of the same Ford line-make.

See Doc. 277 at 77-78 (Nero’s testimony).

      Florida law protects dealers in multiple ways. A distributor may only add an

additional dealership if existing dealers “of the same line-make” “are not providing

adequate representation.” Fla. Stat. § 320.642(2)(a)(2). And if a manufacturer

wants to establish a new distributor, the manufacturer must offer existing dealers “a



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new franchise agreement” with that new distributor under the same terms as the

dealer’s existing franchise agreement with the existing distributor.                  Id.

§ 320.6415(2)(a).

      B.     The 2009 Agreement Grants Nero A Conditional Right Of First
             Refusal To Two Open Points.

      HMA is the wholly-owned distributor of Hyundai Motor Corporation

(“HMC”). William Nero is a dealer who owns “Universal Hyundai” in Orlando.

Doc. 277 at 56.

      In 2006, Nero sued HMA over advertising assessments and HMA’s

distribution system. Doc. 84-1 at 2. In 2009, the parties entered into a written

settlement agreement. Id. at 2-10. Under the agreement, Nero dropped his lawsuit,

and HMA paid him $1.1 million and promised not to establish Hyundai dealerships

near Universal Hyundai for five years. Id. at 3-4. For two more years, HMA

promised Nero a “right of first refusal on one of any Hyundai dealership new open

points” near Universal Hyundai. Id. at 5.

      An “open point” is a term in the industry for a geographic area in which an

automobile line-make lacks representation—hence, a “point” is “open”—but where

a manufacturer wants to add a dealership. See Doc. 303 at 11-12; Doc. 277 at 58.

      This appeal concerns Section 10 of the agreement. Section 10 provided Nero

an additional “right of first refusal to be appointed as a dealer for two (2) open points

for any new luxury motor vehicle line-make, if any, established by Hyundai Motor


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Corporation (‘HMC’) … and for which HMA or a subsidiary or division … is

granted the rights of distribution in the United States.” Doc. 84-1 at 5. “Nero’s

rights of first refusal” to open points “shall be in a county of his choosing” among

eight specific Florida counties—known as “the Eight-County Area.” Id. Section 10

remained operative for ten years, through August 2019. Id.

      The parties agree that Section 10 provided Nero a right of first refusal subject

to three conditions precedent: (1) HMC must establish a new luxury line-make; (2)

rights of distribution must be granted to HMA; and (3) open points must exist in the

Eight-County Area.

      There was no guarantee that any of this would happen. HMC disclaimed any

promise or obligation to “establish a new luxury motor vehicle line-make,” and

HMA disclaimed any promise or obligation to “obtain distribution rights.” Id.

Should “HMA” “not establish any luxury motor vehicle open points” before August

2019, “then any of Nero’s unasserted right of first refusal opportunities shall

terminate.” Id. at 11.

      C.     In 2018, Hyundai Decides To Transform “Genesis” Into A Separate
             Luxury Line-Make, But Regulators Object.

      In 2009, HMC had recently developed a luxury automobile—under the

Hyundai line-make—called Genesis. Doc. 282 at 116. By 2016, HMC expanded

Genesis to include the G80 and G90. Id. at 118-119. At that time, Genesis remained

part of the Hyundai line-make. Doc. 285 at 24-28; Doc. 294 at 20. Over 800


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Hyundai dealers in the United States, including seventeen Hyundai dealers in the

Eight-County Area, sold Genesis vehicles. Doc 282 at 118, 120.

      To better compete, Hyundai decided to spin off Genesis into a separate line-

make with standalone luxury dealerships. Consumers prefer to purchase luxury

vehicles from a “luxury dealership” with “luxury accommodations.” Id. at 44.

Hyundai’s initial plan called for 100 standalone Genesis dealers across the entire

United States. Doc. 285 at 8.

      To further that plan, HMA created a subsidiary called Genesis Motor America

(“GMA”) in late 2016. Doc. 282 at 26. In December 2017, GMA applied to the

Florida DMV for a license to distribute a new Genesis line-make. Doc. 305-13; Doc.

292 at 16.

      On January 26, 2018, HMA and GMA issued a press release announcing their

intent to create independent Genesis dealers. Doc. 305-2. On March 2, 2018, GMA

sent Hyundai dealers a letter inviting them to indicate “interest in applying to become

an authorized GMA Genesis dealer.” Doc. 305-7 at 1.

      But plans for Genesis went sideways almost immediately. Existing Hyundai

dealers protested. The dealers argued they were already selling Genesis vehicles,

and Hyundai could not take those rights away. Doc. 177-11. Multiple states’

regulators agreed and denied licenses to distribute a separate Genesis line-make.

See, e.g., Doc. 84-14 at 2.



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      This development forced GMA to alter its strategy. In May 2018, GMA

abandoned its plan for a small network of luxury dealers. Doc. 285 at 32. GMA

announced it would instead “offer a Genesis franchise to all Hyundai dealers in the

United States.” Id.

      Events in Florida followed that course. On July 31, 2018, the Florida DMV

denied GMA’s initial application to create standalone luxury Genesis dealers. Doc.

305-14; Doc. 292 at 18. The DMV ruled that Genesis “motor vehicles” were

“currently distributed to and sold by” Hyundai dealers. Doc. 305-14 at 1. Therefore,

according to the Florida DMV, GMA needed to maintain that dealer network and

offer all Hyundai dealerships a Genesis franchise at their existing locations. Doc.

305-14 at 1-2; Doc. 285 at 43.

      In Florida, nearly every Hyundai dealer—forty-six, to be specific, including

all seventeen dealers in the Eight County Area—opted to continue selling Genesis

vehicles. Doc. 282 at 109; Doc. 285 at 44-46. This overabundance of Genesis

dealers created “a lose-lose proposition.” Doc. 285 at 47. Individual Genesis dealers

sold too few luxury cars, and customers might not have received that luxury

“experience” at an otherwise regular Hyundai dealer location. Id. at 48.

      Having complied with the Florida DMV’s requirement, on September 25,

2018, GMA submitted another application. Doc. 292 at 23. On October 30, 2018,

the Florida DMV issued a license for a new Genesis line-make, effective January 3,



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2019. Id. at 24, 28. As a result, on January 3, nearly every Hyundai dealer in Florida

“became” an authorized Genesis dealer. Doc. 282 at 109; Doc. 285 at 44, Doc. 292

at 28-29. At no point did Genesis lack representation, nor did GMA ever want to

add additional Genesis dealers.

      D.     Nero Tries To Exercise His Rights Of First Refusal And Quickly
             Files This Lawsuit.

      In the month after GMA announced its intent to create standalone Genesis

dealerships on January 26, 2018, Nero sent a few letters invoking Section 10 of the

settlement agreement. Doc. 305-3 at 1; Doc. 305-5; Doc. 305-6.             Nero was

disappointed that GMA did not respond, but did not call or email anyone at the

company, despite being a longtime Hyundai dealer. Doc. 277 at 92, 145-146. GMA,

which had few employees, was receiving “a lot of letters,” Doc. 285 at 13, and

Nero’s correspondence unfortunately fell through the cracks. Nero’s third letter

threatened to sue if he did not get a positive response by March 8. Nero filed suit on

March 12. Doc. 1.

      E.     The District Court Denies HMA Summary Judgment.

      Nero brought three contractual claims against HMA: (1) breach of contract;

(2) breach of an implied covenant of good faith, which requires proving breach of




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express contractual obligations; and, in the alternative, (3) anticipatory breach. Doc.

84 at 15-20.2

      The parties agree that Section 10 creates a right of first refusal subject to those

three conditions precedent: (1) HMC must establish a new luxury line-make; (2)

rights of distribution must be granted; (3) open points must exist in the Eight-County

Area. But the parties disagree about the precise meaning of “line-make,” “open

point,” and “rights of distribution.” Doc. 303 at 11-12.

      HMA’s defense has remained consistent: No open points ever existed. Doc.

177 at 20-23 (summary judgment); Doc. 277 at 43-49 (opening statements); Doc.

307 at 37 (closing arguments). And if no open points existed, Nero’s rights of first

refusal were never triggered.

      Originally, GMA planned to establish 100 standalone Genesis dealerships.

But GMA abandoned that plan in May 2018 after regulators sided with Hyundai

dealers. In July 2018, the Florida DMV concluded the Hyundai dealer network

already represented Genesis vehicles, and refused to license a new Genesis line-

make unless every Hyundai dealership could continue selling Genesis vehicles as a




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  Nero sued GMA, who was not a party to the contract. The District Court granted
judgment for GMA. Docs. 63, 197, 315. Nero brought statutory claims, for which
the District Court granted judgment to HMA as a matter of law. Doc. 290 at 86.
Nero has not cross-appealed those rulings.

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Genesis dealer. Nearly every Florida Hyundai dealer—including all dealers in the

Eight-County Area—became dual “Hyundai-Genesis” dealers.

      HMA or GMA thus never wanted additional representation for Genesis in the

Eight-County Area. Because “points” were never “open,” a key condition precedent

to Nero’s right of first refusal was never satisfied.

      But the District Court denied HMA’s summary judgment motion. At that

stage, Nero argued that HMA breached its obligations in March 2018, around the

time Nero filed suit. Nero argued that GMA’s March 2, 2018 letter inviting dealers

to indicate interest in establishing a Genesis franchise proved that open points

existed. Doc. 176 at 14; Doc. 186 at 2; Doc. 189 at 3-4. The District Court held that

reasonable jurors could agree with Nero. Doc. 197 at 8.

      HMA also argued that the other two conditions precedent had not yet been

fulfilled in March 2018. The Genesis line-make was not established until after the

Florida DMV granted GMA a license. When issued, that license granted GMA the

right to distribute the new-line make. Doc. 177 at 20. For his part, Nero argued that

a “line-make” simply means a “brand,” and that Section 10 has nothing to do with

Florida licensing or distribution in Florida. Doc. 186 at 12.

      The District Court declined to interpret these key terms. Instead, the court

held that Section 10 possessed latent ambiguities only jurors could resolve. Doc.




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197 at 8-9. At trial, the court would instruct jurors to determine the meaning of

“line-make,” “rights of distribution,” and “open point.” Doc. 303 at 11-12.

      The District Court did, however, grant Nero partial summary judgment, and

held that HMA could not assert an affirmative defense of impossibility. HMA had

argued that even if HMA owed Nero an obligation to select Genesis open points

before other dealers, the Florida DMV’s actions rendered HMA’s performance

impossible and thus excused HMA’s failure to perform. HMA’s impossibility

defense stemmed from the same facts as its contractual argument that “open points”

never existed. But these were separate legal theories.

      The District Court prohibited HMA from asserting the doctrine of

impossibility as a defense. That doctrine applies only where a “supervening event

is not foreseeable,” Doc. 197 at 17 (internal quotation marks omitted), but according

to the District Court, HMA had not presented evidence showing a disputed fact as

to the unforeseeability of the DMV’s regulatory ruling. Id.

      The case proceeded to trial, in which a lay jury would interpret each key term

in Section 10 and determine if Nero’s rights of first refusal had been triggered and

breached.

      F.     The District Court Permits Evidence About The Florida DMV, But
             Prevents HMA From “Implying” Impossibility.

      Before trial, Nero sought to capitalize on the court’s grant of partial summary

judgment on HMA’s affirmative defense of impossibility. He moved to exclude


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“evidence or argument which relates solely to impossibility of performance.” Doc.

219 at 4. In particular, Nero sought to exclude all evidence that the Florida DMV

had “made Defendants offer Genesis franchises to all Hyundai dealers in Florida.”

Id. at 5.

       HMA opposed Nero’s motion and explained that evidence about regulators’

actions was crucial to its defense, separate and apart from the doctrine of

impossibility.   The Florida DMV’s decision also proved “that the conditions

precedent to Nero’s [right of first refusal] were never triggered” in the first place—

the core argument HMA would present to jurors. Doc. 222 at 5.

       The District Court denied Nero’s motion to exclude this evidence. The court

agreed the Florida DMV’s decisions “may” “be relevant” to HMA’s defense. Doc.

237 at 8. But the court warned HMA that it could not “relitigate the issue of

impossibility at trial or” “use the evidence to imply such a defense to the jury.” Id.

The District Court did not explain what it meant to “imply” impossibility. Id. The

court invited Nero to “renew” “objections at trial,” should Nero feel HMA failed “to

heed” the District Court’s “warning.” Id.

       G.    The District Court Instructs The Jury To Disregard Evidence
             Regarding The Florida DMV.

       At trial, HMA sought to tell its story: The Florida DMV and other regulators

concluded that Hyundai dealers were already distributing Genesis vehicles, and

required GMA to distribute the new Genesis line-make through the existing Hyundai


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dealer network. The DMV’s requirement that GMA use the existing Hyundai dealer

network meant that Genesis vehicles never lacked representation, GMA certainly

never wanted additional representation, and there were no open points for this new

line-make that HMA should have offered first to Nero.

      The District Court’s order prohibiting HMA from implying impossibility

became a flashpoint. Nero made, and the District Court sustained, objections on the

basis that references to the Florida DMV’s decisions implied legal impossibility. See

Doc. 277 at 150-152; Doc. 282 at 106; Doc. 285 at 36-37, 39-42; see also Doc. 292

at 19-20.

      On day three of trial, the issue reached a boil. Defense counsel asked a witness

why GMA had abandoned plans for standalone Genesis dealerships. Doc. 285 at 36.

Moments before, the court had warned counsel to tread carefully. See id. at 33-36.

But, unexpectedly, the witness said GMA had received “objections from … dealers

across the country, dealer associations, and even DMVs. And it made it almost

impossible—” Id.

      Nero objected before the witness could finish. Id. Defense counsel explained

he had not expected the witness to say “impossible” and suggested directing the jury

to disregard the answer. The court did. The court also informed the parties that—

at closing—the court would instruct jurors to ignore all evidence of impossibility.

Id. at 36-37.



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      The final instruction explained that the court had “already ruled that

Defendants cannot rely on the impossibility defense in this case because the actions

of the Florida Department of Highway Safety and Motor Vehicles were foreseeable.”

Doc. 303 at 18.

      The court then stated:

      You are instructed to disregard testimony or evidence presented by
      Defendants that argues or implies that it was legally impossible for
      them to offer Plaintiffs one or more rights of first refusal under the
      Agreement as a result of the actions of the Florida Department of
      Highway Safety and Motor Vehicles. Such evidence, testimony, or
      argument should not be given any weight in your deliberations in this
      matter.

Id.

      HMA requested the court clarify that the DMV’s decision “may be considered

in deciding whether the conditions” had “occurred”—i.e., whether or when any

Genesis open points existed. Doc. 297 at 96. The court refused. Id. at 100.

      H.    The District Court Refuses To Instruct Jurors That All
            Preconditions Must Exist Simultaneously.

      At summary judgment, Nero argued that all three preconditions had arisen and

breached occurred “in early 2018.” Doc. 176 at 10. By trial’s end, Nero shifted

course. In the charge conference, Nero stated that HMA breached the contract in

January 2019, which was ten months after he filed this lawsuit. Doc. 297 at 62.

Before the jury, Nero argued that the Genesis line-make was created and rights of




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distribution were granted when the Florida DMV issued GMA a license in October

2018, also many months after he filed suit. Doc. 307 at 14-15, 16.

      In response to Nero’s new assertion that breach occurred in January 2019,

HMA requested the District Court instruct the jury that the contract’s language

required all three preconditions to exist simultaneously. Doc. 297 at 84-89. As

HMA’s counsel explained, the jury might find there were open points in March

2018, but no distribution rights to a new line-make at that time. And it might find

that there were distribution rights to a new line-make in October 2018 or January

2019, but there were no open points at that time because any possible open points

ceased to exist in May 2018. Id. at 86.

      The Court refused to give HMA’s requested instruction.            As the Court

explained, “I don’t read any requirement in Paragraph 10 that” the preconditions “all

have to occur at the exact same time.” Id. “That’s a jury question.” Id.

      I.     The District Court’s Instructions Feature Prominently In Nero’s
             Closing Arguments.

      The District Court’s jury instructions—or lack thereof—became Nero’s

theme at closing.

      Consistent with the Court’s view that the parties should convince jurors of the

contract’s meaning, HMA argued that the three preconditions needed to exist

simultaneously for HMA to owe Nero an obligation. Doc. 307 at 43. If jurors

believed that open points initially existed in March 2018 but that any desire by HMA


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for additional representation was extinguished before the other two preconditions

arose, HMA had no open points to offer Nero and no obligation.

      In the opening lines of his rebuttal, Nero’s lawyer responded:

      [T]hat’s simply not true. It’s not what the contract says. It’s not what
      Judge Berger’s going to tell you. It’s not in the jury instructions. It’s
      not on the verdict form. If that were true, surely it would make its way
      into one of those documents, but it’s not there.

Id. at 72. Nero’s counsel returned to the same theme moments later:

      [A]s I pointed out, their arguments that the planets had to align and all
      these things had to happen at once, that’s—that’s not the law in this
      case. That’s not what the contract says. It’s not what the jury
      instruction says. It’s not what the verdict form says. And nothing Judge
      Berger is going to say contradicts that.

Id. at 78-79 (emphasis added).

      Meanwhile, HMA’s counsel explained the regulators’ actions meant that there

was never a lack of representation in the dealer network for the Genesis line-make,

that no open points existed, and that Nero had no rights of first refusal in these

circumstances. Id. at 36-37.

      Once again, Nero framed his rebuttal around the District Court’s instructions.

Nero’s counsel read the impossibility instruction, and told jurors the instruction

foreclosed HMA’s entire defense. Id. at 73. And his counsel concluded rebuttal as

follows:




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      [HMA’s] whole defense in one way, shape, or form is that they couldn’t
      carry through with their original plan. The decision they had made to
      establish dealerships in that 100-dealer network, it included areas in that
      eight-county area. That was their whole case. We couldn’t do it. But
      as you saw on that jury instruction, that’s not a viable defense here.

Id. at 78 (emphasis added).

      The jury returned a $16 million verdict for Nero. Id. at 100-101.

      J.     The District Court Denies HMA’s Post-Trial Motion.

      HMA filed a motion for judgment as a matter of law and for a new trial, which

the District Court denied. Doc. 338. This appeal involves three aspects of HMA’s

motion.

      First, HMA argued that all three preconditions—(1) open points, (2) a line-

make, and (3) rights of distribution—needed to coexist to give rise to Nero’s right

of first refusal. “Plaintiffs’ position at trial was that the ‘line-make’ and ‘rights of

distribution’ preconditions were not satisfied until January 2019,” or at least until

October 2018. Doc. 318 at 14. But the evidence Nero relied on to argue open points

pre-dated May 2018. As a result, the three preconditions had never coexisted, which

meant HMA deserved judgment as a matter of law. At a minimum, the Court’s

failure to properly instruct the jury required a new trial. Id. at 22.

      The District Court disagreed with HMA. The court first held that HMA

forfeited its argument for judgment as a matter of law by not raising it in HMA’s

Rule 50(a) motion. Doc. 338 at 6-10. On the merits of both the requests for



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judgment and a new trial, the court assumed that “HMA’s interpretation of the 2009

Agreement” was correct, and all three preconditions needed to exist simultaneously.

Id. at 18. But the court found that HMA did not suffer prejudice. According to the

court, “the great weight of the evidence supports a finding that all three conditions

precedent did in fact exist simultaneously on or about March 2018.” Id. The Court

did not address the fact that Nero himself specified October 30, 2018 as the earliest

date that two necessary preconditions arose.

      Second, HMA argued it deserved a new trial because of the District Court’s

impossibility instruction. As HMA explained, the District Court “told the jury to

ignore evidence that was relevant to the most central issue at trial—whether and

when any open points for new luxury line-make dealerships existed.” Doc. 318 at

22. Once again, Nero’s repeated invocation of the instruction demonstrated the

extent of the prejudice HMA suffered. Id. at 23.

      The District Court did not address HMA’s argument. Instead, the District

Court stated that “HMA makes only a conclusory allegation that the instruction did

not accurately state the law and fails to cite any legal authority in support of its

argument.” Doc. 338 at 17. The District Court then declared that it had “reviewed

the instruction and the arguments advanced by HMA at the charging conference,”

and was “satisfied that the impossibility instruction properly stated the law.” Id.




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      Third, HMA argued that it deserved judgment as a matter of law on Nero’s

anticipatory breach claim, because a party cannot anticipatorily breach a unilateral

obligation. Doc. 318 at 14-15. But the District Court once more did not address

HMA’s argument. Instead, the court held that because the jury had not answered the

question on anticipatory breach, Rule 50(b) required HMA to have filed this aspect

of its motion within 28 days of the jury’s discharge, rather than within 28 days of

the entry of judgment. Doc. 338 at 4-5.

      K.     Standard of Review.

      This Court reviews de novo a district court’s denial of judgment as a matter

of law. The Court reviews de novo a district court’s resolution of legal questions.

“In considering the sufficiency of the evidence that supports the jury’s verdict,” this

Court reviews “the evidence in the light most favorable to, and with all reasonable

inferences drawn in favor of, the nonmoving party.” MidlevelU, Inc. v. ACI Info.

Grp., 989 F.3d 1205, 1214 (11th Cir. 2021) (internal quotation marks omitted).

However, the party opposing judgment as a matter of law must present “more than

a mere scintilla of evidence” in its favor. Abel v. Dubberly, 210 F.3d 1334, 1337

(11th Cir. 2000) (per curiam).

      The Court reviews the denial of a motion for a new trial for abuse of

discretion. When a defendant seeks a new trial because the jury was incorrectly

instructed, however, the Court reviews “jury instructions de novo to determine



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whether they misstate the law or mislead the jury to the prejudice of the objecting

party.” MidlevelU, 989 F.3d at 1215 (internal quotation marks omitted). The Court

will “reverse and order a new trial” if it is “left with a substantial and ineradicable

doubt as to whether the jury was properly guided in its deliberations.” Id. (same).

                          SUMMARY OF ARGUMENT

      I.A. The District Court erred by punting to the jury a fundamental question of

textual interpretation. Section 10 is unambiguous: For HMA to owe Nero a right of

first refusal, all three conditions precedent must exist at the same time. Open points

must exist. HMA must possess rights of distribution. And the luxury line-make

must be established. Even if the District Court thought there was some ambiguity

in these terms, there was no ambiguity that all three conditions needed to coexist for

HMA to owe Nero an obligation. These conditions precedent are not abstract

concepts. They are practical requirements that ensure HMA can meaningfully offer

open points and Nero can build dealerships for a new luxury line-make.

       In contrast, Nero argues HMA owed him a right of first refusal so long as

each condition precedent existed at some moment in time over a ten-year period,

regardless of how fleeting the moment was and regardless of whether the other

conditions precedent were present then too. That interpretation leads to absurd

results: HMA could not have offered Nero open points that did not actually exist,




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or that related to a non-existent line-make, or a line-make for which HMA had no

distribution rights.

      B. Judgment as a matter of law is warranted on Nero’s breach of contract and

implied covenant claims. At trial, Nero argued that open points existed in March

2018, when HMA and GMA invited Hyundai dealers to indicate interest in building

one of 100 new standalone Genesis dealerships. But HMA and GMA abandoned

that plan and any open points in May 2018. By contrast, Nero argued the line-make

was not established, and rights of distribution were not granted, until October 2018.

These dates do not match up.

      The District Court’s explanation for denying judgment as a matter of law does

not pass muster. The District Court concluded that a reasonable juror could find that

all three conditions precedent existed in March 2018. But the trial record did not

support that conclusion. To be sure, that was Nero’s theory earlier, when he sought

to avoid summary judgment. By trial, however, Nero argued that HMA’s breach

occurred in October 2018 or January 2019. Underscoring the District Court’s

departure from the trial record, even Nero’s post-trial briefing did not argue the jury

could have found breach in March 2018.

      The District Court alternatively held that HMA forfeited this argument by not

raising it in HMA’s Rule 50(a) motion. That is wrong three times over. First, HMA

raised this argument at the earliest possible opportunity, at the charge conference as



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soon as Nero shifted his theory of breach. This Court has held that is enough to

preserve the argument. Second, HMA’s argument did not vary so greatly from its

Rule 50(a) motion. This Court does not require a perfect identity of issues. Third,

at the very least, the District Court should have applied plain error review.

      C. At a minimum, the District Court’s refusal to properly instruct the jury

about Section 10’s meaning requires a new trial. The prejudice to HMA was

palpable:   In his closing arguments, Nero repeatedly stressed the lack of an

instruction requiring the conditions precedent to exist simultaneously, and even

argued the lack of an instruction meant the court agreed with his interpretation of

the contract.

      The District Court refused to grant a new trial because, it said, the

overwhelming evidence showed breach in March 2018. But not even Nero thinks

the trial record could support a conclusion breach occurred in March 2018. For good

reason. That is not what the evidence at trial showed.

      II.A. The District Court’s impossibility instruction independently requires a

new trial. The instruction directed jurors to ignore evidence about the Florida

DMV’s actions. That undermined HMA’s entire defense: that the open points

precondition did not exist (and certainly not at the same time as any distribution

rights to a new line-make) precisely because the Florida DMV held that Genesis was

already represented in Florida, and required GMA, as a condition of receiving



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distribution rights, to allow every Hyundai dealer to continue selling Genesis

vehicles as a “Genesis” dealer. HMA requested the District Court clarify that jurors

could consider the DMV’s actions to determine whether open points existed, but the

court refused to do so. Even Nero saw the court’s impossibility instruction for what

it was: He told the jury that the impossibility instruction eviscerated HMA’s “whole

case.” Doc. 307 at 78.

      B. The District Court refused to engage with HMA’s argument about the

impossibility instruction. Instead, the court said HMA forfeited it. That is not

accurate. HMA’s post-trial brief devoted multiple pages to this issue, and not even

Nero argued forfeiture.

      III.A. If this Court grants relief on the contract claims, this Court should grant

HMA judgment on Nero’s anticipatory breach claim. Anticipatory breach applies

only to bilateral contracts and can excuse an aggrieved party’s future performance.

A promisor cannot anticipatorily breach a unilateral contract. Nor can a promisor

anticipatorily breach a bilateral contract that has become unilateral, which occurs

when one party has performed its obligations, and only the other party owes

outstanding performance. Additionally, a plaintiff cannot claim anticipatory breach

of a contract subject to conditions precedent that were not fulfilled.

      B. The District Court’s order refused to engage with the merits of HMA’s

arguments about anticipatory breach. Instead, the court declared HMA’s motion



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untimely under Rule 50(b), a procedural argument Nero never advanced. The

District Court was wrong. The Fifth Circuit decision on which it relied rejected the

District Court’s interpretation of Rule 50(b).

                                    ARGUMENT

I.    HMA IS ENTITLED TO JUDGMENT AS A MATTER OF LAW—OR
      AT LEAST A NEW TRIAL—BASED ON THE CONTRACT’S PLAIN
      LANGUAGE.

      Section 10’s meaning is plain: For Nero to have a right of first refusal to two

open points for a new luxury line-make, three preconditions set out in that section

must exist at the same time. There must be: (1) actual open points, (2) for an actual

new luxury line-make, (3) as to which HMA’s subsidiary actually possesses rights

of distribution. It would be nonsensical to interpret the contract to grant Nero a right

of first refusal when only a subset of those preconditions are present. In that

circumstance, what would Nero’s right of first refusal have been for? A right to sell

vehicles that could not be distributed? A right to claim an open-point to be a dealer

for a non-existent luxury line-make? A right to choose imaginary open-points?

      Each result is as absurd as the next. Yet the District Court abdicated its

responsibility, and told the parties to argue this key question of contract

interpretation to lay jurors. That result is as wrong as it sounds. This Court should

grant judgment as a matter of law, or at a minimum a new trial.




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      A.     All Three Conditions Precedent Must Exist Simultaneously.

      Florida courts enforce “the plain meaning of a contractual document when its

language is clear and unambiguous.” Retreat at Port of Islands, LLC v. Port of

Islands Resort Hotel Condo. Ass’n, Inc., 181 So. 3d 531, 533 (Fla. Dist. Ct. App.

2015) (internal quotation marks omitted). Florida courts apply “the ordinary rules

of construction” to divine a contract’s meaning. Interline Brands, Inc. v. Chartis

Specialty Ins. Co., 749 F.3d 962, 965 (11th Cir. 2014) (per curiam). This means

reading the “contract in a way that gives effect to” every provision, and pays

attention to “context.” Retreat, 181 So. 3d at 533. It also means construing text to

avoid absurd results and adopting “rational” constructions “consistent with reason

and probability.” BKD Twenty-One Mgmt. Co. v. Delsordo, 127 So. 3d 527, 530

(Fla. Dist. Ct. App. 2012).

      After a Florida court applies the rules of construction, “contractual language”

may sometimes remain “susceptible to more than one reasonable interpretation.” Id.

In that circumstance, the court may declare the contract “ambiguous.” Id. For

certain ambiguities, a factfinder may determine the parties’ intent. See Nationstar

Mortg. Co. v. Levine, 216 So. 3d 711, 715 (Fla. Dist. Ct. App. 2017).

      The mere fact that parties dispute what a contract means does not make it

ambiguous and a jury question. A “provision is not ambiguous merely because it

requires analysis to interpret it.”   Interline Brands, 749 F.3d at 965 (internal



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quotation marks omitted); see Travelers Indem. Co. of Connecticut v. Richard

Mckenzie & Sons, Inc., 10 F.4th 1255, 1264 (11th Cir. 2021) (same). For two

reasonable interpretations to exist requires that the terms could be read in two

different ways, neither of which is a “fanciful, inconsistent, and absurd” construction

“of plain language.” Delsordo, 127 So. 3d at 530 (internal quotation marks omitted);

see, e.g., N. Am. Co. for Life & Health Ins. v. Caldwell, 55 F.4th 867 (11th Cir.

2022) (plain meaning of “suicide” encompassed “suicide by cop”).

       Applying the tools of construction leads to one reasonable interpretation of

Section 10: For HMA to owe Nero a right of first refusal to open points, all three

preconditions must have existed simultaneously. This is true regardless of the

precise meaning of each precondition. This makes sense given Section 10’s purpose:

to allow Nero the chance to build a dealership at open points for a luxury line-make,

should any exist. The preconditions reflect meaningful prerequisites to the right of

first refusal, not factors chosen at random.

       Start with the key sentence: “Nero shall have a right of first refusal to be

appointed as a dealer for two (2) open points for any new luxury motor vehicle line-

make.” Doc. 84-1 at 5 (emphasis added). This language does not grant Nero “open

points” in the abstract. Instead, Nero has a conditional right to “open points” for a

new luxury line-make. Thus, the open points only exist if the new luxury line-make

also exists.



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      Meanwhile, the words “to be appointed a dealer” imply that someone can

“officially” “name” Nero a dealer once he completes the process of selecting open

points.   Appoint, Merriam-Webster Dictionary (online ed. 2023) (“to name

officially”); see Doc. 84-1 at 16 (stating that Nero appointment occurs at the end of

a process, in which Nero secures land and dealer licensing). That in turns suggests

HMA or its subsidiary actually possesses necessary “rights of distribution” that

allow Nero to be officially named a dealer for a new luxury line-make.

      The same key sentence also states that Nero shall have rights of first refusal if

HMA “is granted the rights of distribution in the United States.” Doc. 84-1 at 5

(emphasis added). That present tense verb “is granted” confirms that HMA must

actively possess the right to distribute the new line-make. See, e.g., Dean Wish, LLC

v. Lee County, 326 So. 3d 840, 846 (Fla. Dist. Ct. App. 2021) (“The simple present

tense of ‘holds’ communicates that the person currently holds legal title to the

impacted property.”); Murphy v. Murphy, 342 So. 3d 799, 804 (Fla. Dist. Ct. App.

2022) (similar); Koehn v. Delta Outsource Grp., Inc., 939 F.3d 863, 865 (7th Cir.

2019) (“After all, the simple present-tense verb ‘is’ also implies ‘current,’ doesn’t

it?”). This shows that Nero only has a right of first refusal if all three conditions

precedent actually coexist.

      Surrounding context bolsters that commonsense interpretation. The very next

paragraph—Section 11—outlines what happens if HMC “establishes a new luxury-



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motor vehicle line-make,” but an entity other than HMA (or HMA’s subsidiary)

becomes distributor. Doc. 84-1 at 6. In that circumstance, HMA pays Nero

$400,000. Id. Section 11 is clear: HMA owes Nero money “if and when all of the”

preconditions “are satisfied.” Id. (emphasis added). That present tense verb “are

satisfied” confirms the three preconditions—whether in Section 11 or the parallel

preconditions in Section 10—must simultaneously exist for HMA to owe Nero

anything. It is not enough for a precondition to have arisen in the past. Instead, for

HMA to owe Nero an obligation, the conditions precedent must exist simultaneously.

      Taking a wider lens confirms that all three conditions precedent must coexist.

Section 10 cross-references an addendum titled “Exhibit A.” Doc. 84-1 at 5. Exhibit

A establishes procedures by which HMA notifies Nero of open points; Nero chooses

open points; Nero secures real estate and dealer licensing; and Nero executes a dealer

agreement. Id. at 11-15.

      That articulated process cannot proceed unless each precondition exists. Nero

cannot choose one of the open points for a Genesis dealership if no such open points

exist. Nor can Nero secure his dealer licensing and execute a dealer agreement if

HMA lacks the right to distribute the new luxury line-make, or the line-make does

not exist. Thus, like the rest of the agreement, Exhibit A makes sense only if all

three preconditions coexist at the time Nero gains his right of first refusal.




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      By contrast, Nero argued that HMA owed him a right of first refusal as long

as each precondition independently existed at some point in time during the decade

from 2009 to 2019. See Doc. 323 at 17. That interpretation produces bizarre

outcomes. It means HMA would have been obligated to offer Nero non-existent

open points, or offer a dealership opportunity where HMA lacked rights of

distribution, or offer a dealership opportunity to a non-existent luxury line-make.

These are hornbook absurdities. But they are precisely the interpretations Nero

convinced lay jurors to accept.

      Here’s the most telling sign Nero’s interpretation is absurd: Post trial, the

District Court did not dispute HMA’s reading of Section 10. The District Court

abdicated its responsibility to tell the jury what the contract required.

      B.     The Three Conditions Precedent Did Not Coexist, And HMA
             Deserves Judgment As A Matter Of Law.

      A proper interpretation of Section 10 resolves this dispute: No reasonable jury

could find that all three preconditions existed at the same time. Nero’s dates do not

line up. As a result, HMA deserves judgment as a matter of law on Nero’s breach

of contract and implied covenant claims.

      Start with what Nero told the jury: Nero conceded that two preconditions—

the “rights and distribution” and “line-make”—were not satisfied until the Florida

DMV granted GMA a license in October 2018. Doc. 307 at 15-16. Meanwhile,

Nero’s evidence of open points was the March 2, 2018 letter inviting Hyundai


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dealers to indicate their interest in applying for Genesis dealerships. Id. at 21, 73;

see, e.g., Doc. 280 at 16.

      But the evidence also showed that GMA abandoned that plan in May 2018.

Doc. 285 at 32. And there were certainly no open points by October 2018. After

all, by July, the Florida DMV held that Genesis vehicles were already represented

by a dealer network under Florida law—the Hyundai dealer network. Doc. 305-14

at 1. By September, every Hyundai dealer in the Eight-County Area opted to

continue selling Genesis vehicles as a “Hyundai-Genesis” dealer. Doc. 285 at 44-

46. By October, GMA did not want additional Genesis dealers. There were already

too many Genesis dealers.

      In denying HMA judgment as a matter of law, the District Court rejected

Nero’s arguments and invented its own rationale for the verdict. According to the

court, a “a reasonable jury could have found” that all three preconditions existed in

March 2018. Doc. 338 at 11.

      The trial evidence did not support this post hoc rationale for the verdict. True,

before trial, Nero pegged March 2018 as the date that mattered. Doc. 197 at 8. But

at trial, Nero abandoned his first theory because it did not fit the facts. Doc. 297 at

62. Nor did Nero’s post-trial brief argue that breach occurred in March 2018.

Instead, Nero doubled down on his erroneous interpretation of Section 10. Doc. 323




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at 8, 17-18. The District Court should not have relied on an argument or facts that

Nero did not assert at trial and did not argue could sustain the verdict.

      Nor does the District Court’s timeline fit the trial record. At trial, there was

no evidence that GMA had been granted “rights of distribution” in March 2018—

under any definition of that term.       HMC granted GMA contractual rights to

distribution in Florida only if GMA received DMV’s license to distribute in Florida.

See Doc. 305-16 at 1 (“In the event the Application is granted, HMC hereby

authorizes GMA to distribute … Genesis motor vehicles in the State of Florida ….”

(emphasis added)). That’s part of why Nero shifted his theory of breach. See Doc.

307 at 15-16. And no other evidence at trial established that GMA had received

other kinds of distribution rights by March 2018. That meant the trial record

indisputably showed that the three preconditions did not coexist in March 2018, just

as they did not coexist in October 2018 or at any other time.3

      In concluding that the jury could have found rights of distribution in March

2018, the District Court cited just three pieces of evidence. None can sustain the

jury’s verdict.




3
 The Genesis “line-make” also did not exist in March. Nero initially conflated “line-
make” with “brand,” and argued the Genesis “brand” existed in March. But given
evidence refuting his imprecise definition of “line-make,” Nero told jurors the line-
make emerged in October with DMV licensing. Doc. 307 at 15.

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      First, the District Court pointed to witness testimony that HMA had

“authorized GMA to distribute Genesis Vehicles in the United States in 2018, and

roughly nineteen state did not require a distributor’s license to be issued by the

State.” Doc. 338 at 12 (emphasis added). But “in 2018” does not mean “in March

2018.” Moreover, the District Court cited a witness who testified he did not know if

GMA had distributed vehicles in 2018 (let alone March 2018) in states that did not

require a license. Doc. 285 at 50-51.

      Second, the District Court cited a press release from January 2018 as evidence

that GMA received rights of distribution. That press release briefly stated that

“GMA ‘distributes, markets and services Genesis vehicles in the United States.’ ”

Doc. 338 at 12 (quoting Doc. 305-2 at 2). But documents designed for the press are

notoriously imprecise. That single cherrypicked sentence is not even “a mere

scintilla of evidence,” and cannot prevent judgment for HMA. Abel, 210 F.3d at

1337. Tellingly, at trial, Nero did not rely on this language at all.

      Third, under the initial 100-dealer plan, GMA and HMA planned to offer

compensation to disappointed dealers who applied—but were not selected for—a

standalone Genesis dealership. See Doc. 338 at 12 (citing Doc. 305-7 at 4). A draft

agreement referred to GMA and HMA as “Distributor Parties.” Doc. 305-7 at 4.

The District Court claimed this contractual definition indicated GMA and HMA

already possessed rights of distribution in March 2018. Doc. 338 at 12. That makes



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no sense. The draft agreement was never executed for a simple reason: It was

intended for a future that never came. See Doc. 305-7 at 1. It also did not state that

GMA had received rights of distribution.

        The bottom line: the District Court was wrong to conclude that reasonable

jurors could have found all three preconditions existed simultaneously in March

2018.

        In the alternative, the District Court held that HMA had not sufficiently

preserved its argument to seek judgment as a matter of law. Doc. 338 at 5-10. Rule

50 requires defendants to first move under Rule 50(a) at trial, and renew the motion

under Rule 50(b) after trial. The District Court held that HMA’s Rule 50(a) motion

had not sufficiently raised this argument. Id. The District Court’s procedural

reasoning was error three ways.

        First, HMA raised its argument at the earliest opportunity. At the charging

conference, Nero pivoted from his prior position and argued that breach occurred in

January 2019. Doc. 297 at 62. HMA immediately identified the problem: Nero had

“used an exhibit repeatedly suggesting that there were open points in March of

2018”; that initial “plan went out the window and was abandoned by May of 2018”;

and if “the jury finds” “the right to distribution and line-make in January of 2019,

the open points have to be offered after that.” Id. at 86.




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      HMA’s arguments at that conference preserved the issue. To alleviate Rule

50(a)’s “harsh” preservation requirement, this Court takes “a liberal view of what

constitutes a motion.” Nat’l Indus., Inc. v. Sharon Steel Corp., 781 F.2d 1545, 1549

(11th Cir. 1986).    A party may preserve arguments in a challenge to a jury

instruction. See, e.g., id. at 1549-50; Splitt v. Deltona Corp., 662 F.2d 1142, 1144-

45 (5th Cir. Unit B Dec. 1981). HMA did precisely that. Nero “can hardly complain

that” he “was lulled into complacency regarding the sufficiency of” his “evidence.”

Nat’l Indus., 781 F.2d at 1549.

      The District Court recognized HMA “expressly raised” this argument at the

charging conference. Doc. 338 at 9. The District Court nevertheless faulted HMA

for not more clearly insisting that “there was insufficient evidence to send the

question to the jury.” Id. But HMA did explain how Nero’s theory of breach failed

to fit the trial record. The initial Rule 50(a) motion provides plaintiffs notice of

factual deficiencies and opportunity “to mend” them. Quinn v. Sw. Wood Prods.,

Inc., 597 F.2d 1018, 1025 (5th Cir. 1979); see Fed. R. Civ. P. 50 committee’s note

to 2006 amendment. HMA provided Nero clear warning of the defects in his

argument.

      Moreover, blame for any confusion at the charging conference lies with Nero.

Nothing “in the record” suggests “an ambush or sandbagging” by HMA. Nat’l

Indus., 781 F.2d at 1549. Instead, Nero “sandbagged” and “ambushed” HMA by



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waiting until the close of trial to alter his theory of when the breach occurred. Quinn,

597 F.2d at 1025.       Despite Nero’s sudden change in position, HMA quickly

identified the flaw.4

      Second, HMA also preserved its argument because HMA’s post-trial 50(b)

motion did not “vary greatly” from its initial 50(a) motion. Howard v. Walgreen

Co., 605 F.3d 1239, 1243 (11th Cir. 2010) (internal quotation marks omitted); see

Ruckh v. Salus Rehab., LLC, 963 F.3d 1089, 1109 n.12 (11th Cir. 2020). At the

close of Nero’s case, HMA argued that Nero had failed to present any evidence of

open points at any point in time. Doc. 290 at 84-85. HMA’s post-trial motion argued

that Nero failed to present evidence of open-points at the time of the alleged breach.

These are not such dissimilar arguments.           And again, responsibility for any

dissimilarity lies with Nero.

      Third, at minimum, the District Court should have applied plain error review.

See Howard, 605 F.3d at 1243. Under that standard, this Court reviews “the record

to ascertain if any evidence supports the jury’s verdict, irrespective of its sufficiency,

or whether there was plain error that resulted in a manifest miscarriage of justice.”

Etienne v. Inter-Cnty. Sec. Corp., 173 F.3d 1372, 1374 (11th Cir. 1999) (per curiam).



4
  The District Court faulted HMA for not arguing “there was insufficient evidence”
in response to statements by the court and Nero’s counsel. Doc. 338 at 9. But HMA
tried and failed to correct the core mistake at the charging conference: that all three
conditions must coexist simultaneously. Doc. 297 at 85-89.

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HMA identified Nero’s legal error, and highlighted the different dates on which the

preconditions existed. At that point, the lack of evidence to support Nero’s theory

was plain. The fact that breach did not occur in March 2018—as the District Court

thought—was so plain even Nero did not argue it.

      The District Court acknowledged this Court’s precedent requires plain error

review “when a party altogether fails to assert a Rule 50(a) motion.” Doc. 338 at 10

(internal quotation marks omitted). The District Court declared that precedent

inapplicable, however, because “HMA made a motion under Rule 50(a) on other

grounds.” Id. But this Court has said that plain error applies here, too. Howard,

605 F.3d at 1243; see EEOC v. Go Daddy Software, Inc., 581 F.3d 951, 961 (9th

Cir. 2009) (same). The District Court’s approach makes no sense: It rewards parties

who do not file any Rule 50(a) motion, but penalizes parties who attempt to comply

with Rule 50(a). That result would be particularly unfair here. Nero changed his

theory of the case on the penultimate day of trial, and HMA quickly identified the

error in Nero’s new theory.5

      C.    At Minimum, Because The District Court Failed To Correctly
            Instruct The Jury, This Court Should Grant A New Trial.

      At a minimum, the District Court’s refusal to properly instruct the jury on

whether the preconditions in Section 10 had to exist at the same time warrants a new


5
 The court suggested HMA did not sufficiently argue “that plain error occurred.”
Doc. 338 at 10. HMA preserved this point. See Doc. 329 at 4-5.

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trial. HMA attempted to convince the jury that all three needed “to have existed at

the same point in time.” Doc. 307 at 43. But Nero emphasized over and over that

only HMA’s arguments, but not the District Court’s instructions, were to that effect.

      A new trial is warranted for the failure to give an instruction “when (1) the

requested instruction correctly stated the law, (2) the instruction dealt with an issue

properly before the jury, and (3) the failure to give the instruction resulted in

prejudicial harm to the requesting party.” Brink v. Direct Gen. Ins. Co., 38 F.4th

917, 923 (11th Cir. 2022) (internal quotation marks omitted). All three factors are

easily met.

      First, HMA’s proposed instruction correctly interpreted Section 10. See

supra pp. 31-35.

      Second, the circumstances under which HMA owed an obligation to Nero was

the central aspect of Nero’s breach and implied covenant claims, which required

proof HMA breached an obligation. See Beck v. Lazard Freres & Co., 175 F.3d

913, 914 (11th Cir. 1999) (per curiam); Centurion Air Cargo, Inc. v. United Parcel

Serv. Co., 420 F.3d 1146, 1152 (11th Cir. 2005).

      Third, HMA suffered significant prejudice. The “district court’s failure to

give” HMA’s requested “instruction create[d] a” serious “misimpression.” Brink,

38 F.4th at 924. Whether the three preconditions had to, but did not, coexist “was

the heart of” HMA’s “defense.” Christopher v. Cutter Lab’ys, 53 F.3d 1184, 1194



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(11th Cir. 1995). It was “critical that the court properly guide the jury.” Id. But the

court’s instructions were severely “lacking.” United States v. AseraCare, Inc., 938

F.3d 1278, 1301 (11th Cir. 2019). They failed to tell jurors that, as a legal matter,

Section 10 required all three conditions to coexist.

       Nero’s drumbeat of the “unsupported and irrelevant standard in closing

argument” confirms “that the jury was improperly guided.” Cutter Lab’ys, 53 F.3d

at 1195. Consider how Nero refuted HMA’s interpretation of Section 10: “It’s not

what Judge Berger’s going to tell you. It’s not in the jury instructions. It’s not on

the verdict form. If that were true, surely it would make its way into one of those

documents, but it’s not there.” Doc. 307 at 72 (emphasis added). And again: “It’s

not what the jury instruction says. It’s not what the verdict form says. And nothing

Judge Berger is going to say contradicts that.” Id. at 79.

       Nero “stressed” his incorrect interpretation of Section 10 because it

constituted “the guts of the case.” Miller v. Universal City Studios, Inc., 650 F.2d

1365, 1372 (5th Cir. 1981) (internal quotation marks omitted). Nero argued that

open points existed on March 2, 2018, but that the line-make was not established

and rights of distribution were not granted until October 2018. Doc. 307 at 14-16.

To square conflicting dates, Nero needed to convince jurors that each precondition

could exist at separate times and still give rise to rights of first refusal.




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      The District Court’s reasoning in denying a new trial is reversible error.

According to the District Court, no instructions were necessary because the parties

argued “their desired interpretation to the jury.” Doc. 338 at 18. But the court

instructs jurors on the law. By failing to do so, the court allowed Nero to argue a

legally incorrect interpretation of a complex contractual provision to lay jurors and

to imply that the court endorsed Nero’s erroneous interpretation.

      The District Court also refused to grant a new trial because—it said—“the

great weight of the evidence supports a finding that all three conditions precedent

did in fact exist simultaneously on or about March 2018.” Id.

      That is demonstrably false. This Court need look no further than Nero’s own

closing argument. He argued that the Genesis line-make was established and rights

of distribution were not granted until October 2018. Doc. 307 at 14-16. HMA’s

post-trial motion emphasized that Nero’s closing argument proved the prejudice

HMA suffered. See, e.g., Doc. 318 at 13-14, 24-25. But the District Court never

addressed that point. Instead, the District Court parroted Nero’s summary judgment

arguments without regard to whether they matched up with the trial record.

      Nero changed his theory at trial for a reason: A mountain of evidence

confirmed that GMA’s rights of distribution and the Genesis line-make did not exist

until after March 2018. See, e.g., Doc. 305-16 (HMC-GMA distribution agreement

conditioned on Florida licensing); Doc. 285 at 29-31, 49, 52, 54 (testimony about



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agreement); Doc. 292 at 32-33 (same); Doc. 285 at 23-25 (certificates of origin listed

Genesis vehicles as Hyundai line-make on March 5, 2018); Doc. 277 at 155 (Nero

agreeing Genesis vehicles were “models of Hyundai” in January 2018); Doc. 280 at

86 (state approval necessary to recognize line-make); Doc. 282 at 121-122 (line-

make requires a license); Doc. 285 at 28 (GMA’s license pending in March); id. at

41 (DMV denied license in July); id. at 51 (GMA received license in October); id.

at 25 (Hyundai was “distributor” of Genesis until December 2018); Doc. 292 at 17-

19 (until new license issued, “Genesis” was part of Hyundai line-make); id. at 24-28

(Genesis not a line-make until licensing); Doc. 285 at 121-123 (same); Doc. 294 at

17, 20 (same).

      One final point demonstrates the District Court’s error. The court did not

independently analyze the facts to determine “the great weight of the evidence.”

Doc. 338 at 18. Instead, the court cross referenced its earlier conclusion that

sufficient facts existed for “a reasonable jury” to find for Nero. Id. at 11. But these

are entirely separate inquires, under completely different standards. Moreover,

when evaluating judgment as a matter of law, the court relied on the assumption that

the jury agreed with Nero’s “interpretations” of the terms “line-make” and “rights

of distribution.” Id. Yet the Court never explained how the great weight of the

evidence supposedly supported Nero’s definitions. The District Court’s elision of




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HMA’s separate requests for different relief betrayed a rush to preserve the verdict,

no matter the unfairness.

II.   THE DISTRICT COURT COMMITTED REVERSIBLE ERROR
      WHEN IT INSTRUCTED JURORS TO DISREGARD EVIDENCE
      REGARDING THE FLORIDA DMV.

      This Court should also grant HMA a new trial to remedy a separate error: The

District Court misled jurors when it ordered them “to disregard any testimony or

evidence presented by Defendants that argues or implies that it was legally

impossible for [HMA] to offer Plaintiffs one or more rights of first refusal” as a

“result of” the Florida DMV’s actions. Doc. 303 at 18. This instruction—which

Nero transformed into another mantra at closing—incorrectly directed the jury to

ignore HMA’s entire defense.

      A.     The Florida DMV’s Regulatory Decision Was Central To HMA’s
             Defense.

      The Florida DMV’s actions played a central role in HMA’s defense. HMA’s

position was that open points never existed because the DMV ruled that the Hyundai

dealer network had been representing Genesis vehicles. As a result, the DMV

required GMA to make the Genesis dealer network a virtual clone of the Hyundai

dealer network. HMA did not want—or need—additional dealers in the Eight-

County Area (or anywhere else in Florida). That all meant a key condition precedent

to Nero’s right of first refusal never arose. See Doc. 277 at 35-37, 46-51 (opening

statement); Doc. 307 at 45-51 (closing argument). At a minimum, even if there had


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been open points in March 2018, GMA abandoned its initial plan and any open

points in response to state regulators’ resistance. Doc. 307 at 49.

      Because the Florida DMV’s actions involved “the heart and the guts of the

case,” Miller, 650 F.2d at 1372 (internal quotation marks omitted), it was once again

“critical that the court properly guide the jury.” Cutter Lab’ys, 53 F.3d at 1194-95.

The District Court did the opposite. Its one-sided impossibility instruction told the

jury—in Nero’s words—to ignore HMA’s “whole case.” Doc. 307 at 78.

      Nero’s description of the instruction’s impact was correct. The impossibility

instruction swept extremely broadly: It prevented the jury from giving “any weight”

to “actions of the Florida Department of Highway Safety and Motor Vehicles.” Doc.

303 at 18. It targeted all “testimony or evidence” that “argues or implies” legal

impossibility. Id. By definition, all evidence about the DMV’s actions argued or

implied impossibility to some degree—in the sense that the evidence was relevant

to impossibility.   But the same evidence was independently relevant—indeed,

critical—to HMA’s case that no open points existed. 1 Robert P. Mosteller, ed.,

McCormick On Evidence § 59 (8th ed. 2022 update) (“McCormick On Evidence”)

(evidence may be admissible for one purpose but inadmissible for another).

      Worse still, the instruction did not inform jurors how they could consider the

DMV’s actions: to evaluate HMA’s argument that open points never existed. HMA

specifically requested that clarification. Doc. 297 at 96. But the District Court



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refused to explain that “the jury” could “consider the evidence” “for the allowable

purpose.” McCormick On Evidence, supra, § 59. Instead, the court’s instruction

flatly prohibited the jury from considering key evidence at all.

       Nero cannot deny that HMA suffered prejudice. He repeatedly “reinforced

the improper jury instruction” at closing argument. Cutter Lab’ys, 53 F.3d at 1195.

Nero began rebuttal by reading the impossibility instruction verbatim. Doc. 307 at

73. In his words, if GMA’s March 2018 “plan couldn’t come to pass or became

impossible to come to pass, that is not a viable defense that you can consider when

you deliberate in this matter.” Id. Later on, he said this:

       Their whole defense in one way, shape, or form is that they couldn’t
       carry through with their original plan. The decision they had made to
       establish dealerships in that 100-dealer network, it included areas in that
       eight-county area. That was their whole case. We couldn’t do it. But
       as you saw on that jury instruction, that’s not a viable defense here.

Id. at 78.

       “The fact that counsel considered the faulty instruction” so central

demonstrates the court’s error “permeated” the entire trial. Miller, 650 F.2d at 1372.

And the prejudice to HMA was all the worse because it came after the court restricted

HMA from presenting evidence about the Florida DMV. See, e.g., Doc. 277 at 150-

152; Doc. 282 at 106; Doc. 285 at 36-37, 39-42.




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      B.     The District Court Ignored HMA’s Argument.

      In its post-trial ruling, the District Court declined to address the merits of

HMA’s argument. Instead, it stated that HMA made a “conclusory allegation” and

failed to cite any caselaw. Doc. 338 at 17.

      HMA did present a conclusion—after pages of briefing. See Doc. 318 at 18-

22. HMA discussed the relevancy of the Florida DMV’s actions and explained how

Nero’s closing arguments proved the prejudice HMA suffered. Id. And HMA cited

cases where this Court granted new trials under similar circumstances. Id. (citing

Miller, 650 F.2d at 1367, 1372; Cutter Lab’ys, 53 F.3d at 1194, 1195). This issue

was fully briefed.6

      Nor did Nero think HMA forfeited anything: Nero devoted a considerable

portion of his post-trial brief to the issue, yet never argued forfeiture. Doc. 323 at

15-16. Absent “extraordinary circumstances,” a district court should not sua sponte

enforce forfeiture. United States v. Campbell, 26 F.4th 860, 872 (11th Cir. 2022)

(en banc) (internal quotation marks omitted). This Court should order a new trial to

correct the indefensible impossibility instruction.




6
 The court’s overzealous application of forfeiture is troubling given its requirement
for large font and a twenty-five-page limit. See Standing Order of Judge Berger on
Revised Local Rules (Jan. 13, 2021), https://tinyurl.com/5n86fw8h; M.D. Fla. Local
R. 3.01.

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III.   NERO’S ANTICIPATORY BREACH CLAIM ALSO FAILS.

       The jury’s decision on breach mooted Nero’s anticipatory breach claim. But

if this Court grants HMA any relief on the other two contract claims, it should grant

HMA judgment on this legally-flawed claim.

       A.    Nero’s Anticipatory Breach Claim Is Legally Defective.

       Nero’s anticipatory breach claim fails as a matter of law twice over:

       First, a party cannot anticipatorily breach a unilateral obligation, such as the

conditional obligation HMA owed Nero in 2018. In general, a party cannot sue for

breach before the required time of performance. The doctrine of anticipatory breach

carves out a narrow exception for bilateral contracts involving a mutual exchange of

promises. If the first party repudiates its promise, the anticipatory breach doctrine

preemptively excuses the second party from performance and allows for immediate

suit. See Hosp. Mortg. Grp. v. First Prudential Dev. Corp., 411 So. 2d 181, 182

(Fla. 1982); Restatement (Second) of Contracts § 253 (1981) (“Second

Restatement”).

       Anticipatory breach “does not apply to a unilateral contract” in which only

one promisor must perform. Allegro at Boynton Beach, L.L.C. v. Pearson, 287 So.

3d 592, 600 (Fla. Dist. Ct. App. 2019); see Haelterman v. Haelterman, 846 So. 2d

1229, 1230 (Fla. Dist. Ct. App. 2003) (same). Similarly, anticipatory breach does

not apply to “a contract originally bilateral that has become unilateral” because of



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the “full performance by one party.” Restatement (First) of Contracts § 318 (1932);

see Second Restatement § 253 cmt. c (similar); First Prudential, 411 So. 2d at 182

(applying Second Restatement); Allegro, 287 So. 3d at 600 (unilateral option

contract becomes bilateral once option exercised).

      This makes good sense. When a contract is unilateral, the aggrieved party

does not owe performance, and so does not need preemptive excuse from

performance.

      That rule forecloses Nero’s anticipatory breach claim.            The settlement

agreement began as a bilateral contract. Nero had one obligation: drop his then-

existing lawsuit. He did so. Doc. 277 at 15. At that point, the contract became

unilateral. Only HMA had obligations. By 2018, HMA had just one obligation left:

If three preconditions arose, HMA had to offer Nero right of first refusal. As a result,

HMA could not anticipatorily breach the contract.

      In a “singularly rare fact pattern,” a Florida court once allowed a party to sue

for anticipatory breach on a unilateral contract to prevent irreparable injury.

Poinciana Hotel of Miami Beach, Inc. v. Kasden, 370 So. 2d 399, 402 (Fla. Dist. Ct.

App. 1979); see Haelterman, 846 So. 2d at 1230. This case is nothing like that one.

There, a mortgagor threatened bankruptcy, and a third-in-line mortgagee sought to

foreclose immediately. The Florida court allowed the suit to proceed to prevent the

mortgagee from otherwise becoming unable to receive effective relief and becoming



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“legally responsible for the entire financial obligation under the senior mortgages.”

Poinciana, 370 So. 2d at 402.        Outside of that rare circumstance, Poinciana

confirmed the general rule: In garden variety cases, anticipatory breach does not

apply to unilateral contracts. Id. at 401.

      Second, Nero’s anticipatory breach claim fails because a promisee cannot

claim anticipatory breach for an obligation subject to conditions precedent that never

arose during a necessary time period. Otherwise, the promisor can be held liable for

breach when the promisor never had any obligation to perform. See First Prudential,

411 So. 2d at 183 (promisees can recover under anticipatory breach only if “they

could have performed” their “conditions precedent”). Indeed, that is what would

happen here if Nero could receive damages for anticipatory breach: Despite HMA

having never owed Nero an obligation, HMA would be held liable for that

obligation.

      B.      The District Court Misinterpreted Rule 50(b).

      The District Court refused to engage with HMA’s legal arguments. See Doc.

338 at 4-5. The District Court did not dispute that HMA raised this issue in its Rule

50(a) motion. See Doc. 290 at 72-83; Doc. 289-2. Instead, the District Court held

that—because the jury had not needed to fill out the section on anticipatory breach—

Rule 50(b) required HMA to separately file this portion of its post-trial motion by a

different deadline. The District Court was wrong. The Fifth Circuit decision on



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which the District Court relied says the opposite. See Escribano v. Travis County,

947 F.3d 265, 272 n.7 (5th Cir. 2020).

      Federal Rule of Civil Procedure 50(b) establishes two deadlines. First, and

normally, parties must file “[n]o later than 28 days after the entry of judgment.” Fed.

R. Civ. P. 50(b) (emphasis added). Second, for “a jury issue not decided by a

verdict,” the parties must file “no later than 28 days after the jury was discharged.”

Id. (emphasis added). Because the entry of judgment typically occurs after jurors’

discharge, the first deadline is longer than the second.

      In this case, the jury completely “decided” every issue asked of it, and the

longer deadline applies. Id. In the charge conference, the District Court held that “a

completed breach and anticipatory breach” were mutually incompatible findings.

Doc. 297 at 62; see Second Restatement § 253 cmt. a (if breach occurs, action is

treated as breach not anticipatory breach). Thus, if the jury found breach, the

anticipatory breach claim became moot, and the verdict form required the jury to

skip the question about anticipatory breach. See Doc. 304 at 2-3. In this case, by

finding breach, the jury “decided” every issue and rendered a complete verdict.

      The District Court’s lone citation to Escribano proves the normal Rule 50(b)

deadline applies.    Fed. R. Civ. P. 50(b).       Escribano involved an analogous

circumstance. There, a verdict form required a jury to answer a gateway question.

Because of how the jury answered that question, the jury did not proceed to



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subsequent moot questions. Escribano, 947 F.3d at 267. The Fifth Circuit explained

that Rule 50(b)’s shorter timeline did not apply because “the jury returned a complete

verdict” that “if upheld by the court” “would have fully resolved liability.” Id. at

272 n.7. The exact same words describe this case.

      The commentary to Rule 50(b) confirms the District Court erred. Rule 50(b)’s

shorter timeline applies “when the trial ends without a verdict or with a verdict that

does not dispose of all issues suitable for resolution by verdict.” Fed. R. Civ. P. 50

committee’s note to 2006 amendment. But, here, the jury did “dispose of all issues

suitable for resolution by a verdict.” Id. In finding for Nero on breach, the jury

mooted his anticipatory breach claim. By contrast, the shorter time limit applies

where the jury does not return a verdict on some or all claims, and the court declares

a mistrial. See 9B Charles Alan Wright & Arthur R. Miller, Federal Practice and

Procedure—Civil § 2537 (3d ed. 2022 update) (shorter deadline applies “if a verdict

was not returned”).

                                  CONCLUSION

      For the foregoing reasons, the Court should reverse the judgment against

HMA. Alternatively, this Court should vacate the judgment, and order a new trial

limited to Nero’s breach and implied covenant claims.




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                                          Respectfully submitted,

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Dated: January 6, 2023




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                      CERTIFICATE OF COMPLIANCE

      1.     This document complies with the type-volume limitation of Fed. R.

App. P. 32(a)(7)(B) because it contains 12,985 words, exclusive of those items listed

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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 6, 2023, I caused a copy of the foregoing to

be served by electronic means via the Court’s CM/ECF system on all counsel

registered to receive electronic notices.

                                            /s/ Jessica L. Ellsworth
